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                               IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF COLORADO

  Civil Action No. 11-CV-02285-NYW


  CENTER FOR LEGAL ADVOCACY, d/b/a
  DISABILITY LAW COLORADO ,

             Plaintiff,
  v.


  MICHELLE BARNES
  in her official capacity as Executive Director
  of the Colorado Department of Human Services, and

  JILL MARSHALL,
  in her official capacity as Chief Executive Officer
  of the Colorado Mental Health Institute at Pueblo ,

             Defendants.



                                  SUPPLEMENT TO CONSENT DECREE



       1.           For fiscal year (FY) 2021-2022, the Office of Behavioral Health (OBH) received a

                    total of $6,000,000 in funding allocation from the General Assembly to pay fees and

                    fines pursuant to the Consent Decree. The $6,000,000 allocation from the General

                    Assembly encompasses fees and fines to be paid between July 1, 2021 and June 30,

                    2022.

       2.           In fiscal year 2021-2022, OBH will pay fines in the amount of $5,735,000. The

                    remaining $265,000 appropriated to OBH will be used to pay FY 2021-22 fees as

                    necessary to the Special Masters.




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      3.            The parties agree in this Supplement to Consent Decree (Supplement) that in FY

                    2021-22:

                    a.   DLC will not pursue fines greater than $5,735,000 for competency service

                         delays.

                    b. Additionally, OBH has paid the fines for May 2021 and June 2021 in full.

                    c. OBH will not invoke Individual Special Circumstances (ISC) for any extenuating

                         circumstance.

                    d. OBH will not invoke Departmental Special Circumstances.

                    e. OBH will continue, in good faith, all efforts to reduce the number of pretrial

                         detainees waiting for competency services, reduce the time pretrial detainees

                         spend waiting for competency services and provide appropriate care to pretrial

                         detainees waiting for competency services.

      4.            OBH will release the final payment in the amount of $5,735,000 on August 1, 2021 to

                    Cordes and Company as the full fines payment for FY 2021-2022.

      5.            Provisions Regarding Data and Monthly Compliance Reporting:

                    a. Effective July 1, 2021, since OBH will no longer place pretrial detainees whose

                         delays are due to COVID-19 on ISC, the number of individuals on the waitlist and

                         the number waiting past the timeframes will change significantly compared to the

                         reports offered in FY 20-21. The reports will return to the format utilized prior to

                         the COVID-19 ISC process where only the total number of individuals waiting for

                         admission will be reported. The parties agree that denoting the difference on the

                         tables in the July 2021 report (submitted in August 2021) will be sufficient. OBH

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                       is not required to provide retroactive data for the months in which they used the

                       COVID-19 ISC process.

                    b. The parties agree that moving forward, OBH will not be able to answer specific

                       questions about specific data points reflecting delays due to COVID-19

                       restrictions for pretrial detainees waiting for competency services, because that

                       data was available only because of the COVID-19 ISC tracking process.

                    c. OBH will continue to track non-COVID related ISCs and will report the number

                       of individuals on ISC in the monthly compliance report submitted to the Court.

                       OBH will not send DLC ISC notifications.

      6.            The terms of this Supplement will supersede any conflicting provisions of the

                    Consent Decree through June 30, 2022. Provisions of the Consent Decree that are not

                    affected by the terms of this Supplement will remain in full force and effect.

      7.            The terms of this Supplement end on June 30, 2022, at which time the provisions of

                    the Consent Decree affected by this Supplement will be reinstated.




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